                                                                                    ABBE DAVID LOWELL
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                                            February 3, 2022


VIA ECF
Honorable Brian M. Cogan
United States District Court for the
  Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     United States v. Matthew Grimes, No. 1:21-cr-00371 (BMC)

Dear Judge Cogan:

        On behalf of defendant Matthew Grimes in the above-referenced case, we respectfully write to
inform you that in reviewing Mr. Grimes’ Motion to Dismiss the Indictment (Dkt. 71), we realized that
certain footnotes were somehow deleted from the final brief during the conversion from Microsoft Word
to PDF process. Specifically:

       •   Footnote 13 on p. 15, which should have stated: Oversight of the Foreign Agents
           Registration Act and Attempts to Influence U.S. Elections: Lessons Learned from
           Current and Prior Administrations, Questions for the Record for the Honorable Michael
           Horowitz         Submitted         August          3,        2017         at       2,
           https://www.judiciary.senate.gov/imo/media/doc/Horowitz%20Responses%20to%20
           QFRs.pdf [hereinafter “Horowitz QFR”]; and

       •   What should have been footnote 16 on p. 24, following Senator Grassley’s quote at the
           top of the page, which should have stated: Hearing on Oversight of the Foreign Agents
           Registration Act and Attempts to Influence U.S. Elections: Lessons Learned from
           Current and Prior Administrations Before the S. Comm. on the Judiciary (July 26, 2017)
           (statement of Sen. Chuck Grassley, Chairman, S. Comm. on the Judiciary),
           https://www.judiciary.senate.gov/grassley-statement-at-hearing-on-enforcement-of-
           the-foreign-agents-registration-act.

       We wanted to point out these inadvertent omissions right away to avoid any confusion. We
apologize sincerely for any confusion this may have caused. We are also looking into the process by which
documents are reviewed and converted to prevent this from occurring again.
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                                      Respectfully,

                                      /s/ Abbe David Lowell
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cc: All counsel of record (via ECF)
